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                                UNITED STATES DISTRICT COURT
20                            NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
21
      PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-5146-YGR-SVK
22    themselves and all others similarly situated,
                                                      GOOGLE LLC’S ADMINISTRATIVE
23           Plaintiffs,                              MOTION TO SEAL SUBMISSION IN
                                                      RESPONSE TO DKT. 756
24           v.
25                                                    Judge: Hon. Susan van Keulen, USMJ
      GOOGLE LLC,
26
             Defendant.
27

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                                                                   Case No. 4:20-cv-5146-YGR-SVK
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 1     I.   INTRODUCTION
 2          Pursuant to Civil Local Rules 7-11 and 79-5, Defendant Google LLC (“Google”)
 3 respectfully seeks to file under seal its Submission in Response to Dkt. 756 (“Google’s Submission”),

 4 which contains non-public, highly sensitive and confidential business information that could affect

 5 Google’s competitive standing and may expose Google to increased security risks if publicly

 6 disclosed, including various types of Google’s internal data logging systems. This information is

 7 highly confidential and should be protected.

 8          This Administrative Motion pertains for the following information contained in Google’s
 9 Submission:
10     Document                        Portions to be Filed Under Seal           Party Claiming
                                                                                 Confidentiality
11     Google LLC’s Submission         Entire document                           Google
12     in Response to Dkt. 756

13
      II.   LEGAL STANDARD
14
            A party seeking to seal material must “establish[] that the document, or portions thereof, are
15
     privileged, protectable as a trade secret or otherwise entitled to protection under the law” (i.e., is
16
     “sealable”). Civ. L.R. 79-5(b). The sealing request must also “be narrowly tailored to seek sealing
17
     only of sealable material.” Id.
18
            In the context of dispositive motions, materials may be sealed in the Ninth Circuit upon a
19
     showing that there are “compelling reasons” to seal the information. See Kamakana v. City & Cty.
20
     of Honolulu, 447 F.3d 1172, 1179-80 (9th Cir. 2006). However, a party seeking to seal information
21
     in a non-dispositive motion must show only “good cause.” Id. at 1179-80. The rationale for the
22
     lower standard with respect to non-dispositive motions is that “the public has less of a need for
23
     access to court records attached only to non-dispositive motions because these documents are often
24
     unrelated, or only tangentially related, to the underlying cause of action” and that as a result “[t]he
25
     public policies that support the right of access to dispositive motions, and related materials, do not
26
     apply with equal force to non-dispositive materials.” Kamakana, 447 F.3d at 1179; see also TVIIM,
27
     LLC v. McAfee, Inc., 2015 WL 5116721, at *1 (N.D. Cal. Aug. 28, 2015) (“Records attached to non-
28


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 1 dispositive motions are not subject to the strong presumption of access.”) (citation omitted). Under

 2 the “good cause” standard, courts will seal statements reporting on a company’s users, sales,

 3 investments, or other information that is ordinarily kept secret for competitive purposes. See

 4 Hanginout, Inc. v. Google, Inc., 2014 WL 1234499, at *1 (S.D. Cal. Mar. 24, 2014); Nitride

 5 Semiconductors Co. v. RayVio Corp., 2018 WL 10701873, at *1 (N.D. Cal. Aug. 1, 2018) (granting

 6 motion to seal “[c]onfidential and proprietary information regarding [Defendant]’s products” under

 7 “good cause” standard) (van Keulen, J.). Although the materials that Google seeks to seal here

 8 easily meet the higher “compelling reasons” standard, the Court need only consider whether these

 9 materials meet the lower “good cause” standard.

10 III.     THE ABOVE IDENTIFIED MATERIALS SHOULD ALL BE SEALED

11          Courts have repeatedly found it appropriate to seal documents that contain “business
12 information that might harm a litigant’s competitive standing.” Nixon v. Warner Commc'ns, Inc.,

13 435 U.S. 589, 589-99 (1978). Good cause to seal is shown when a party seeks to seal materials that

14 “contain[] confidential information about the operation of [the party’s] products and that public

15 disclosure could harm [the party] by disclosing confidential technical information.” Digital Reg of

16 Texas, LLC v. Adobe Sys., Inc., 2014 WL 6986068, at *1 (N.D. Cal. Dec. 10, 2014). Materials that

17 could harm a litigant’s competitive standing may be sealed even under the “compelling reasons”

18 standard. See e.g., Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc., 2015 WL 984121, at

19 *2 (N.D. Cal. Mar. 4, 2015) (information “is appropriately sealable under the ‘compelling reasons’

20 standard where that information could be used to the company’s competitive disadvantage”)

21 (citation omitted). Courts in this district have also determined that motions to seal may be granted

22 as to potential trade secrets. See, e.g. United Tactical Sys., LLC v. Real Action Paintball, Inc.,2015

23 WL 295584, at *3 (N.D. Cal. Jan. 21, 2015) (rejecting argument against sealing “that [the party]

24 ha[s] not shown that the substance of the information . . . amounts to a trade secret”).

25          Here, Google’s Submission comprises confidential and proprietary information regarding
26 highly sensitive features of Google’s internal systems and operations that Google does not share
27 publicly. Specifically, this information provides details related to Google’s internal data logging

28 infrastructure. Such information reveals Google’s internal strategies, system designs, and business


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 1 practices for operating and maintaining many of its important services while complying with its

 2 legal and privacy obligations.

 3          Public disclosure of the above-listed information would harm Google’s competitive standing

 4 it has earned through years of innovation and careful deliberation, by revealing sensitive aspects of

 5 Google’s proprietary systems, strategies, and designs to Google’s competitors. That alone is a proper

 6 basis to seal such information. See, e.g., Free Range Content, Inc. v. Google Inc., No. 14-cv-02329-

 7 BLF, Dkt. No. 192, at 3-9 (N.D. Cal. May 3, 2017) (granting Google’s motion to seal certain

 8 sensitive business information related to Google’s processes and policies to ensure the integrity and

 9 security of a different advertising system); Huawei Techs., Co. v. Samsung Elecs. Co., No. 3:16-cv-

10 02787-WHO, Dkt. No. 446, at 19 (N.D. Cal. Jan. 30, 2019) (sealing confidential sales data because

11 “disclosure would harm their competitive standing by giving competitors insight they do not have”);

12 Trotsky v. Travelers Indem. Co., 2013 WL 12116153, at *8 (W.D. Wash. May 8, 2013) (granting

13 motion to seal as to “internal research results that disclose statistical coding that is not publicly

14 available”).

15          Moreover, if publicly disclosed, malicious actors may use such information to seek to

16 compromise Google’s internal data logging infrastructure. Google would be placed at an increased

17 risk of cyber security threats. See, e.g., In re Google Inc. Gmail Litig., 2013 WL 5366963, at *3

18 (N.D. Cal. Sept. 25, 2013) (sealing “material concern[ing] how users’ interactions with the Gmail

19 system affects how messages are transmitted” because if made public, it “could lead to a breach in

20 the security of the Gmail system”). The security threat is an additional reason for this Court to seal

21 the identified information.

22          The information Google seeks to redact, including the various types of Google’s internal

23 data logging systems, is the minimal amount of information needed to protect its internal systems

24 and operations from being exposed to not only its competitors but also to nefarious actors who may

25 improperly seek access to and disrupt these systems and operations. The “good cause” rather than

26 the “compelling reasons” standard should apply but under either standard, Google’s sealing request
27 is warranted.

28   IV.    CONCLUSION


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 1        For the foregoing reasons, the Court should seal Google’s Submission.

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